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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI INC. (f/k/a UBIQUITI
    NETWORKS, INC.),
                          Plaintiff,

                         v.
                                                           Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;
                                                           JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and
    DMITRY MOISEEV
                      Defendants.


            PLAINTIFF UBIQUITI INC.’S (f/k/a UBIQUITI NETWORKS, INC.)
                    NOTICE OF CORPORATE NAME CHANGE

       Plaintiff Ubiquiti Inc. (f/k/a Ubiquiti Networks, Inc.) respectfully submits the enclosed

Notice of Corporate Name Change, and states as follows in support thereof:

       1.      Plaintiff hereby notifies the Court and the parties to this action that effective

August 19, 2019, the corporate entity known as “Ubiquiti Networks, Inc.” has changed its name

to “Ubiquiti Inc.” A true and correct copy of the Certificate of Amendment for this corporate

name change from the Secretary of State of the State of Delaware is attached hereto, and the

updated case caption for this action is enclosed herein.

       2.      Subject to this corporate name change, Plaintiff further confirms that no

amendments or supplemental filings are necessary to be made in this action, including with

respect to Plaintiff’s corporate disclosure statement filed pursuant to Local Rule 3.2 and Federal

Rule of Civil Procedure 7.1 (ECF Dkt. No. 4).




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       WHEREFORE, Plaintiff requests that the Court and the parties to this action take notice

of this corporate name change, and that the Court grant any further relief necessary for this

corporate name change to be effective for purposes of this action.



Dated: August 19, 2019                       Respectfully submitted by:

                                             /s/ Erik J. Ives
                                             David Koropp (ARDC #6201442)
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                                             Attorneys for Plaintiff Ubiquiti Inc.
                                             (f/k/a Ubiquiti Networks, Inc.)




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                                           Delaware                                         Page 1

                                                       The First State



             I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

    DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

    COPY OF THE CERTIFICATE OF AMENDMENT OF “UBIQUITI NETWORKS,

    INC.”, CHANGING ITS NAME FROM "UBIQUITI NETWORKS, INC." TO

    "UBIQUITI INC.", FILED IN THIS OFFICE ON THE SIXTEENTH DAY OF

    AUGUST, A.D. 2019, AT 1:32 O`CLOCK P.M.

             AND I DO HEREBY FURTHER CERTIFY THAT THE EFFECTIVE DATE OF

    THE AFORESAID CERTIFICATE OF AMENDMENT IS THE NINETEENTH DAY OF

    AUGUST, A.D. 2019 AT 4:01 O'CLOCK P.M.

             A FILED COPY OF THIS CERTIFICATE HAS BEEN FORWARDED TO THE

    NEW CASTLE COUNTY RECORDER OF DEEDS.




4834536 8100                                                                Authentication: 203423395
SR# 20196560353                                                                         Date: 08-16-19
You may verify this certificate online at corp.delaware.gov/authver.shtml
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                              CERTIFICATE OF SERVICE

      The undersigned, an attorney, hereby certify that I caused a copy of the foregoing
document to be served by electronic mail on all counsel of record on this 19th day of August,
2019.


                                                  /s/ Erik J. Ives
                                                  Erik J. Ives




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